Case 2:18-cr-00036-LGW-BWC Document 86 Filed 03/07/19 Page 1 of 2

AO 93 (Rev_ ||H 3} Scure|t and Seiztlrc Warrant (I’age 2)

 

 

Return
Case No.: Datc and time warrant executed: Copy of warrant and inventory left wi£h:
Ceyl`}§’\§{f} MA\¢"€L\ q 1 ZQICN 'zl.`.’f. "->M dallqu

 

 

 

 

Inventory made in the presence ot` : ___,...-1

l 0&’1`3 widow/19 ¢' H m

 

lnventory oflhe property taken and name ofany person{s) scized:

lQM,wmg_¢ ingva clJNe w»-r~ln_i,n‘,¢`j cLou.;oL-=r~ol. 'fctr_,;

'€'-‘v'n l’iP L-\PL=»{> C=»MP\.{¢»» (,Sev.‘a,\'{l’€` S`C,'b§¢-il-{?_U$'U>,

\1

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cl !.' €l".-

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0 ¢Z!

01

 

 

Certil`:ca£igl

 

l declare under penalty of perjury that this inventory is correct and was returned along with the original warrant lo the
designatedjudge.

!:`xecrrn`ng ojicer ’.\' signature

__§igl?od_ ll`l'»_ll‘.'-F_.____.___
ha];ri)tfed nn:'¢?rmd title

Date: ?>/L/*cl ___ `_7‘2;? 'Eél'? _ _ _ _

 

 

 

Case 2:18-cr-00036-LGW-BWC Document 86 Filed 03/07/19 Page 2 of 2

AO 93 tRe\'_ lltf 13,\ Search and Seizurc \\"arrant

UNITED STATES DISTRICT COURT

f`or thc

Southern District o|` Georgia

ln the Matter ofthe Search of
(Briejl'_\’ describe the property to be searched

)
)
or iden.'i]§’ fire person by name and nddrcss) ) Ca_$e NO_ (_` g '2__ l g -_.3 6
)
)

A Hew|ett Packard HP 15-F233WM Laptop Computer.
Seria| Nun'lber SCD5442W50 Located at the Darien
Police Departrnent, 1180 Coasta| Drive SW, Darien, GA )

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
ofthc following person or property located in the Southe_rn District of` _ _ _ Georgia__ ___ _
(r`dent'{,{i' the person or describe tire property to be searched and give irs focnn`on)l

See Attachment A

l find that the affidavit(s), or any recorded testimony. establish probable cause to search and seize the person or property
described ab(}\"€._ and li'lill SllCh SEal‘Cl'i Wiii reveal (ir!entfjj’ tire person or describe thc ;n'oper!_\' to be ser`_'cd)l

See Attachment B

Y0u ARE COMMANDEI) to execute this warrant on or before Md/t wet 5 ,_ 2 0 /9’ ma m meat n dave
El in the daytime 6:00 a.m. to 10:00 p.m. E?Fat any time in the day or night because good cause has been establishedl

Unless delayed notice is authorized beiow. you must give a copy ofthc warrant and a receipt l`or the property taken to the
person f rom whom, or l`rom whose premiscs. the property was taken, or leave the copy and receipt at the place where the
property was taken.

'[`he officer executing this warrant. or an officer present during the execution of`the warrant, must prepare an inventory

as required by law and promptly return this warrant and inventory to _ __ __ __l_-_|_c_)_r].__§_hristopher |___. Ray _ _ _ .
(Um'red Srntt'.r Mag:'srrcne Jndge)

|:l l’ursuant fo 18 U_S.C. § 31033(|3)_. l find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (cxcept for delay oftrial), and authorize the ol`ficer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized retreat nw nppiapi-t'a:e ban

Cl for_ _ days mario avct=t-»d$t}) ij until thc facts justifying the later spe tc date of _

oatcanattmeissued: gille ___g_Ojj_Wl 126/bk `/ %°j…___

Jndgc s Signtnrn c

Cjty and Statc; Savannah,_Georgia_ H_on Christo_pherL Ray, U. S. Magistrafe Judg_e

 

 

 

Prfnrt. d name and title

